           Case 1:14-vv-01097-UNJ Document 44 Filed 04/22/16 Page 1 of 2




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                            No. 14-1097V
                                        Filed: March 31, 2016

*************************                                UNPUBLISHED
JANICE STEINKAMP,                          *
                                           *             Special Master Hamilton-Fieldman
                     Petitioner,           *
                                           *
v.                                         *             Attorneys’ Fees and Costs;
                                           *             Reasonable Amount Requested.
SECRETARY OF HEALTH                        *
AND HUMAN SERVICES,                        *
                                           *
                     Respondent.           *
*************************
Ronald C. Homer, Conway, Homer & Chin-Caplan, PC, Boston, MA, for Petitioner.
Ann Martin, United States Department of Justice, Washington, DC, for Respondent.

                                                  DECISION 1

        On November 12, 2014, Janice Steinkamp (“Petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that an influenza (“flu”) vaccination administered on October 24, 2011 caused
her to develop Guillain-Barré Syndrome (“GBS”). On November 5, 2015, the undersigned
issued a decision awarding compensation to Petitioner. Judgment entered on the decision on
November 9, 2015.

       On March 11, 2016, Petitioner filed an application for attorneys’ fees and costs
(“Motion”). In her application, Petitioner requests compensation for $23,446.50 in attorneys’

1
 Because this unpublished decision contains a reasoned explanation for the action in this case,
the undersigned intends to post this decision on the United States Court of Federal Claims’
website, in accordance with the E-Government Act of 2002, codified as amended at 44 U.S.C. §
3501 note (2012). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in § 300aa-12(d)(4)(B).
Consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, the undersigned agrees that the identified material fits within the
requirements of that provision, such material will be deleted from public access.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
          Case 1:14-vv-01097-UNJ Document 44 Filed 04/22/16 Page 2 of 2



fees and $1,696.56 in costs; in total, Petitioner requests compensation in the amount of
$25,143.06. Petitioner represents that she did not personally incur any costs in pursuit of her
claim. See Petitioner and Counsel Statement at 1-2.

       Respondent filed a Response to Petitioner’s motion on March 25, 2016 (“Response”).
Respondent “submits to the special master’s sound discretion the determination of a reasonable
fee award in this case.” Response at 1.

        The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C.
§ 300aa-15(e). The undersigned finds that this petition was brought in good faith and that there
existed a reasonable basis for the claim. Therefore, an award for fees and costs is appropriate,
pursuant to 42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable
and appropriate. Accordingly, the undersigned hereby awards the amount of $25,143.06, in
the form of a check made payable jointly to Petitioner and Petitioner’s counsel, Ronald
Homer.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court shall enter judgment in accordance herewith. 3

       IT IS SO ORDERED.

                                                     /s/Lisa D. Hamilton-Fieldman
                                                     Lisa D. Hamilton-Fieldman
                                                     Special Master




3
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to
seek review. Vaccine Rule 11(a).
